
709 S.E.2d 925 (2011)
STATE of North Carolina
v.
Dwayne Eric JUSTICE.
No. 167P11.
Supreme Court of North Carolina.
June 15, 2011.
Amy Kunstling Irene, Assistant Attorney General, for State of North Carolina.
Dwayne Eric Justice, for Justice, Dwayne Eric.
Locke Bell, District Attorney, for State of North Carolina.

ORDER
Upon consideration of the petition filed by Defendant on the 2nd of May 2011 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 15th of June 2011."
